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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                       )
                                                       )
GWENDOLYN STOVER,                                      )
                                                       )
               Plaintiff/Third-Party Plaintiff         )
                                                       )
               v.                                      )
                                                       )
FAIR COLLECTIONS & OUTSOURCING,                        )    Civil Action No. 1:14-cv-00809 (RJL)
INC.,                                                  )
                                                       )
               Defendant                               )
                                                       )
               v.                                      )
                                                       )
EDGEWOOD MANAGEMENT                                    )
CORPORATION, A Maryland Corporation                    )
                                                       )
               Third-Party Defendant                   )

                               STIPULATION OF DISMISSAL

       Plaintiff Gwendolyn Stover (“Stover”) and Defendant Fair Collections & Outsourcing,

Inc. (“FCO”) jointly file this Stipulation of Dismissal with prejudice as to any and all claims by

and between Stover and FCO under Fed. R. Civ. P. § 41(a)(1)(A)(ii).

Consented to by:                                     Prepared by:

/s/ Peter Moore                                       /s/ Dean Gregory
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 11, 2014 I caused a copy of the foregoing Stipulation of

Dismissal to be served via the CM/ECF system on the following counsel:

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                                                    /s/ Dean Gregory
                                                    Dean Gregory




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